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Attorneys for Plaintiff/Counterclaim Defendant Garden of Life, LLC


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


GARDEN OF LIFE, LLC,

         Plaintiff,

v.
                                                     NOTICE OF WITHDRAWAL OF
                                                             COUNSEL
RHEMA HEALTH PRODUCTS INC.,
                                                         Case No. 2:16-cv-01222-BSJ
         Defendant.


RHEMA HEALTH PRODUCTS INC.,

         Third-Party Plaintiff,

v.

TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

         Third-Party Defendant.


         PLEASE TAKE NOTICE that Jenna C. Newmark of the law firm Goodwin Procter LLP

hereby withdraws as counsel in this action on behalf of Garden of Life, LLC. The reason for the

withdrawal is that Ms. Newmark is leaving the law firm of Goodwin Procter LLP. Garden of


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Life, LLC continues to be represented by all other counsel of record in this matter, including the

law firms of Manning Curtis Bradshaw & Bednar PLLC and Goodwin Procter LLP.


Dated: October 15, 2018                      MANNING CURTIS BRADSHAW &
                                             BEDNAR PLLC


                                             /s/ Christopher M. Glauser
                                             Alan C. Bradshaw
                                             Christopher M. Glauser

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                            CERTIFICATE OF SERVICE
      I hereby certify that I caused a true and correct copy of the foregoing NOTICE OF
WITHDRAWAL OF COUNSEL to be served in the method indicated below to the below-
named parties this 15th day of October, 2018.

     ___HAND DELIVERY                   Heather L. Thuet
     ___U.S. MAIL                       Bryson R. Brown
     ___FAX TRANSMISSION                CHRISTENSEN & JENSEN, P.C.
        E-MAIL TRANSMISSION             257 East 200 South, Suite 1100
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                                        Rhema Health Products Inc.

     ___HAND DELIVERY                   Ryan Atkinson
     ___U.S. MAIL                       STRONG & HANNI
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                                        Attorney for Third-Party Defendant Tri-Iso
                                        Tryline, LLC dba Baobab Foods



                                        /s/ Christopher M. Glauser
                                        Christopher M. Glauser




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